                   Case
                    Case1:23-cv-00142-DKG
                          1:23-cv-00142-BLW Document
                                             Document16-29
                                                      82 Filed
                                                           Filed04/18/23
                                                                 04/06/23 Page
                                                                           Page1 1ofof2 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                        District
                                                __________       of Idaho
                                                           District  of __________

                                                                )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No.FY'.*
                                                                )
                                                                )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                           o· States Courts
                                                                                         United
                                                                           CLERK OF COURT    ,strict of Idaho

          April 6, 2023                                                                          ISSUED
Date:                                                                                         Jocelyn Dunnegan
                                                                                     Signature
                                                                                           on ofApr
                                                                                                 Clerk or Deputy
                                                                                                     06,         Clerk
                                                                                                          2023 10:07     am
             Case 1:23-cv-00142-BLW Document 82 Filed 04/18/23 Page 2 of 2




                                    UNITED STATES DISTRICT COURT
                                              FOR THE
                                         DISTRICT OF IDAHO

 Planned Parenthood Great Northwest,
 Hawaii, Alaska, Indiana, Kentucky, et al.         Plaintiff(s-):
                                                                             DECLARATION OF SERVICE
 vs.
                                                                             Case Nwnber: 1:23-cv-00 142-DKG
                                                   Defendant(s):
 Raul Labrador, et al.

For:
Bartlett & French PLLP
1002 W. Franklin St.
Boise, ID 83702




Received by Tri-County Process Serving LLC on April 11,2023 to be served on PAYETTE COUNTY
PROSECUTING ATTORNEY.

I, Marsha Wilson, state tbat on Monday, April 17, 2023, at 6:40 PM, I served the within named person(s) by
delivering to and leaving with MIKE DUKE, Payette County Prosecuting Attorney, a true copy of the Summons in a
Civil Action; Complaint; Motion for Temporary Restraining Order and Preliminary Injunction. Said service was
effected at 2580 Driftwood PI, Payette, ID 83661.




I hereby acknowledge that I am a Process Server in the county in which service was effected. I am over the age of
eighteen years and not a party to the action. I declare under penalty of perjury pursuant to the law of the State of Idaho
that the foregoing is true and correct.                                    .


Our Reference Number: 202277
Client Reference: > Rachel Craft
                                                                                                     Tuesday, April 18, 2023
